         Case 18-13674        Doc 50      Filed 10/17/18 Entered 10/17/18 07:03:42                 Desc Notice
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Form NTCFTFC7

                                   United States Bankruptcy Court
                                               Northern District of Illinois
                                                    Eastern Division
                                                    219 S Dearborn
                                                       7th Floor
                                                   Chicago, IL 60604


In Re:
                                                              Case No. 18−13674
Pamela D Strain                                               :
20471 Bluestem Pkwy                                           Chapter : 7
Lynwood, IL 60411                                             Judge :   Deborah L. Thorne
SSN: xxx−xx−8825 EIN: N.A.
dba PST 1 Trust, dba PST 2 Trust, ...




Debtor's Attorney:                                             Trustee:
Lorraine M Greenberg                                           Phillip D Levey ESQ
Lorraine M. Greenberg                                          2722 North Racine Avenue
150 North Michigan Avenue                                      Chicago, IL 60614
Suite 800
Chicago, IL 60601                                              773 348−9682

312 588−3330

                            NOTICE FIXING TIME FOR FILING CLAIMS
To the Debtor(s), Creditors, and other Parties in Interest:

A petition under Chapter 7 of the U.S. Bankruptcy Code has been filed by (or against) the above−named debtor(s) on
May 10, 2018 .

1. January 17, 2019 is fixed as the last day for the filing of claims by creditors other than governmental units.

2. January 17, 2019 is fixed as the last day for the filing of claims by governmental units.

In order to have a claim allowed and share in any distribution from the estate, a creditor must file a claim, whether or
not the creditor was included in the schedules filed by the debtor(s). Claims which are not filed on or before the date
fixed as the last day for the filing of claims as specified in #1 and #2 above, will not be timely, except as otherwise
provided by law.

Attorneys must file this claim electronically via the CM/ECF system. Non−Attorneys may file in person or by
mail at the Clerk of the Bankruptcy Court's address shown at the top of the form. A Proof of Claim form
("Official Form B 410") can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerks office.

                                                              For the Court,


Dated: October 17, 2018                                       Jeffrey P. Allsteadt , Clerk
                                                              United States Bankruptcy Court
